21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 1 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 2 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 3 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 4 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 5 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 6 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 7 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 8 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                     Pg 9 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                    Pg 10 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                    Pg 11 of 12
21-22563-shl   Doc 1   Filed 10/04/21 Entered 10/04/21 18:57:17   Main Document
                                    Pg 12 of 12
